995 F.2d 1063
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.William HARRIS, Petitioner,v.BEATRICE POCAHONTAS COAL COMPANY;  Director, Office ofWorkers' Compensation Programs, United StatesDepartment of Labor, Respondents.
    No. 92-1859.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  January 11, 1993.Decided:  June 21, 1993.
    
      On Petition for Review of an Order of the Benefits Review Board.  (88-3012-BLA)
      William Harris, Petitioner Pro Se.
      Douglas Allan Smoot, Jackson &amp; Kelly, Charleston, West Virginia; Patricia May Nece, Anne Swiatek, United States Department of Labor, Washington, D.C., for Respondents.
      Ben.Rev.Bd.
      AFFIRMED.
      Before HALL, MURNAGHAN, and WILKINSON, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      William Harris seeks review of the Benefits Review Board's decision and order affirming the administrative law judge's denial of black lung benefits pursuant to 30 U.S.C. §§ 901-945 (1988).  Our review of the record discloses that the Board's decision is based upon substantial evidence and that this appeal is without merit.  Accordingly, we affirm on the reasoning of the Board.  Harris v. Beatrice Pocahontas Coal Co., No. 88-3012-BLA (B.R.B. June 26, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    